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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 15-17423
         NORBERT TUCKER

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 05/18/2015.

         2) The plan was confirmed on 07/23/2015.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
03/03/2016.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 11/30/2017.

         6) Number of months from filing to last payment: 25.

         7) Number of months case was pending: 32.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor               $30,258.77
       Less amount refunded to debtor                              $0.00

NET RECEIPTS:                                                                                   $30,258.77


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $3,385.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                       $1,285.50
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $4,670.50

Attorney fees paid and disclosed by debtor:                  $615.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim       Principal      Int.
Name                                 Class   Scheduled      Asserted         Allowed        Paid         Paid
Arnoldharris                     Unsecured         215.00           NA              NA            0.00       0.00
CCI                              Unsecured         257.00           NA              NA            0.00       0.00
CITY OF CHICAGO DEPT OF REVENU   Unsecured      4,500.00       8,949.20        8,949.20           0.00       0.00
First National Collect           Unsecured         764.00           NA              NA            0.00       0.00
IL STATE DISBURSEMENT UNIT       Priority      21,746.00     21,852.61        21,852.61      8,558.05        0.00
IL STATE DISBURSEMENT UNIT       Priority       9,115.00     21,569.47        21,569.47      8,362.97        0.00
IL STATE DISBURSEMENT UNIT       Priority       9,053.00     12,435.68        12,435.68      4,847.49        0.00
IL STATE DISBURSEMENT UNIT       Priority       8,912.00       9,767.63        9,767.63      3,819.76        0.00
INTERNAL REVENUE SERVICE         Unsecured         125.00           NA              NA            0.00       0.00
OVERLAND BOND & INVESTMENTS      Unsecured            NA       9,560.48        9,560.48           0.00       0.00
PEOPLES GAS LIGHT & COKE CO      Unsecured            NA         257.45          257.45           0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                       $65,625.39         $25,588.27              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                    $0.00              $0.00              $0.00
 TOTAL PRIORITY:                                         $65,625.39         $25,588.27              $0.00

 GENERAL UNSECURED PAYMENTS:                             $18,767.13                $0.00            $0.00


Disbursements:

         Expenses of Administration                             $4,670.50
         Disbursements to Creditors                            $25,588.27

TOTAL DISBURSEMENTS :                                                                      $30,258.77


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/02/2018                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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